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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

                                                *
MICHAEL BURKE and CATHERINE                     *
BURKE,                                          *
                                                *
        Plaintiffs,                             *
                                                *
                 v.                             *                            Civil Action No. 23-11798-MGM
                                                *
KATE WALSH, in her official capacity as         *
Secretary of the Massachusetts Executive Office *
of Health and Human Services, ET AL.,           *
                                                *
        Defendants.                             *

                             MEMORANDUM AND ORDER REGARDING
                            DEFENDANTS’ PARTIAL MOTION TO DISMISS
                                         (Dkt. No. 59)

                                                      June 5, 2024

MASTROIANNI, U.S.D.J.

                                               I.       INTRODUCTION

         Michael and Catherine Burke (“Plaintiffs”) sought to become foster parents through the

Massachusetts Department of Children & Families (“DCF”). They participated in a rigorous pre-

license process, which included training, interviews, and assessments, and DCF acknowledged their

strengths as prospective foster parents. However, Plaintiffs—practicing Catholics who espoused

traditional religious beliefs about marriage and sexuality—were denied a foster parent license

because DCF determined “they would not be affirming to a child who identified as LGBTQIA.”1

(Dkt. No. 6-1 at 3.)




1 The court takes judicial notice that LGBTQIA, in this context, stands for lesbian, gay, bisexual, transgender, queer or

questioning, intersex, and asexual. See, e.g., Massachusetts Department of Children & Families, LGBTQ: A Guide for
Working with Youth and Families (Spring 2015), available at: https://www.mass.gov/doc/lgbtq-a-guide-for-working-with-
youth-and-families/download.

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        Plaintiffs brought suit under 42 U.S.C. § 1983, asserting claims for violations of their free

exercise and free speech rights and seeking declaratory, injunctive, and monetary relief. Defendants

Kate Walsh (Secretary of the Massachusetts Office of Health and Human Services) and Linda Spears

(Commissioner of DCF) are sued only in their official capacities. Defendants Laurie Sullivan (Area

Director of the Western Regional Office of DCF), Anna Moynahan (Regional Clinical Director of

DCF), Theresa Harris (Regional Program Manager of DCF), Dawn Sweetman (Adoption

Development Licensing Unit (“ADLU”) Supervisor for DCF), Tywanna Jones (ADLU Social

Worker for DCF), Caitlyn Levine (Mental Health Specialist for DCF), Stacy Clark (Quality

Assurance Supervisor for DCF), Euphemia Molina (License and Training Supervisor for DCF), Luz

Estrada (License and Training Supervisor for DCF), and Angel Emerson (License and Training

Supervisor for DCF) are sued in both their personal and official capacities. Defendants filed a partial

motion to dismiss only the individual-capacity claims. Plaintiffs oppose Defendants’ motion, except

as to Defendant Sullivan, as Plaintiffs concede they “do not have knowledge sufficient to allege

[Sullivan’s] personal participation” in the foster parent license application denial. (Dkt. No. 65 at 6

n.3.)

        The court will dismiss the individual-capacity claims against Defendant Sullivan, without

prejudice. Otherwise, however, the court will deny Defendants’ partial motion to dismiss.

                                         II.     BACKGROUND

        The following facts, which are construed in a light most favorable to Plaintiffs, come from

Plaintiffs’ complaint and attachments thereto. Plaintiffs, lifelong residents of western Massachusetts,

married in 2018. They were both raised as Catholics and continue to serve in active roles in the local

Catholic Church. Catherine Burke has experience working with special needs children in education

as a substitute teacher and a paraprofessional. Michael Burke served in the Marine Corps from 2002-

2006, including a deployment in Iraq; he suffered post-traumatic stress disorder (“PTSD”), for


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which he successfully sought treatment and from which he has gained “compassion and insight into

the needs of others who suffer from trauma.” (Dkt. No. 6 ¶ 38.)

        In light of health issues which would make it difficult for them to become natural parents,

Plaintiffs decided they wanted to become adoptive parents and pursued adoption through a private

agency. Although the agency completed a home study and recommended Plaintiffs be approved as

adoptive parents, Plaintiffs discontinued the process before they were matched with a child because

the cost of private adoption proved too expensive. Plaintiffs then began exploring adoption through

DCF as an alternative.

        The DCF foster parent license process involves multiple stages of individualized assessment

and training. Following an initial eligibility screening, DCF undertakes an “Application Review,”

which entails a home visit and background checks. See 110 C.M.R. §§ 7.100(1), 7.103, 7.107. (See also

Dkt. No. 6-3 at 14-16.) The next stage is the “Caregiver Training and Assessment,” which entails a

more “thorough assessment of the family’s caregiving capacity” as well as DCF-approved “foster

parent training.” (Dkt. No. 6-3 at 17, 23-24.) See 110 C.M.R. § 7.107(1). In addition, a License and

Training Social Worker (“LTSW”) must visit the prospective foster family at least three times,

including at least two visits to the family’s home, and interview the prospective parents both

individually and together. The LTSW then completes a comprehensive assessment, which must

include “confirmation that the applicant(s) . . . meet the standards established by 110 C.M.R. 7.104.”

110 C.M.R. § 7.107(2)(m). (See also Dkt. No. 6-3 at 24-25.) Section 7.104, in turn, sets forth the

“Standards for Licensure as a Foster/Pre-adoptive Parent,” and requires that a foster parent

applicant “demonstrate, to the satisfaction of the Department,” 17 separate subjective qualities,

including the ability “to promote the physical, mental, and emotional well-being of a child placed in

his or her care, including supporting and respecting a child's sexual orientation or gender identity.”




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110 C.M.R. § 7.104(1)(d).2 The LTSW’s comprehensive assessment includes a licensing

recommendation as well as “any placement recommendations,” which “take[s] into account any

wishes of the foster/pre-adoptive parents about the type of child they want to foster and the

capabilities of the foster parent.” (Dkt. No. 6-3 at 25, 45.) Following the LTSW’s comprehensive

assessment, a License Review Team (“Team”) is assembled to examine the information gathered

during the earlier stages of the license application process and ultimately decides whether to approve

or deny the foster parent license application. After a license is granted, DCF enters into a written

agreement with the applicant, which includes “a statement of any limitations on the identity or

individual characteristics of children who may be placed in the foster/pre-adoptive home.” 110

C.M.R. § 7.111(4). In addition, before any placement occurs, DCF must provide the prospective

foster parents “with sufficient information about the child to enable [them] to determine whether to

accept placement of the child.” 110 C.M.R. § 7.112(1); see also id. (“The foster/pre-adoptive parent

will receive information about the service plan for the child, behavior management guidelines and

techniques, the child's medical needs, the child's educational needs, current health and education

information and/or records available, legal status and any other special conditions or

requirements.”).3

         Plaintiffs first extensively researched the DCF adoption system and decided they were

willing to adopt children who might eventually be reunified with their birth families as well as those

who could not be reunified. Plaintiffs were also willing to adopt sibling groups and children with

certain special needs, and “[t]hey were . . . happy to welcome a child of any racial, cultural or ethnic



2 DCF provides the LTSW with a number of suggested sample questions directed at the various criteria, including, under

“Cultural Humility,” questions specifically asking about the applicants’ religious beliefs, practices, affiliations, and any
religious expectations or requirements for children living in the home. (Dkt. No. 6-3 at 42.)

3 Moreover, pursuant to DCF’s LGBTQIA+ Nondiscrimination Policy, “[t]he Department matches children to foster

families who can best meet their needs and maintains an electronic record of affirming placements that can best support
the needs of LGBTQIA+ children.” (Dkt. No. 6-4 at 2.)

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background into their family.” (Dkt. No. 6 ¶ 50.) In January of 2022, Plaintiffs applied through DCF

to become foster parents.

        In May and June of 2022, Plaintiffs attended the Western Regional Massachusetts Approach

to Partnership in Parenting (“MAPP”) Training, as required. The training spanned multiple weeks,

and Plaintiffs attended every session. A MAPP Training instructor reported to DCF that Plaintiffs

        seem to have a solid understanding of how trauma can effect people, as Michael spoke
        openly about his PTSD as a Veteran. Both of them were active participants throughout
        MAPP and their comments often helped to enrich the training. It is anticipated that
        they will work cooperatively with DCF throughout their adoption journey.

(Dkt. No. 6-1 at 14.) Plaintiffs “were taken aback during one of the sessions that discussed care for

LGBTQ children,” as “[a]n instructor stated that parents who were not willing to affirm same-sex

relationships and transgender identities should not be [foster] parents.” (Dkt. No. 6 ¶ 105.) After

that class, however, another DCF employee “expressed a somewhat more moderate tone, essentially

stating that [the instructor’s statement] wasn’t the case and that DCF understood that there were

people of different backgrounds there.” (Id. ¶ 106.) This experience left Plaintiffs “fearful that they

would be discriminated against due to their Catholic religious beliefs.” (Id. ¶ 107.)

        In October of 2022, DCF contracted with 18 Degrees’ Adoption Management Services, a

private agency, to perform the comprehensive assessment of Plaintiffs’ foster license application.

Linda-Jean Mack, a social worker employed by 18 Degrees, served as the LTSW and conducted in-

depth interviews of Plaintiffs. During these interviews, Plaintiffs “were troubled that much of the

questioning centered around their views on sexuality and their response if a child were, in the future,

to struggle with gender dysphoria or to identify as gay or lesbian,” with approximately one third of

the time in the interviews spent on these questions. (Id. ¶ 111.) Plaintiffs responded “that they would

love and accept their child, no matter his or her future sexual orientation or struggles with gender

identity.” (Id. ¶ 112.) However, Plaintiffs “conveyed their Catholic religious beliefs that marriage is

between a woman and a man and that sexual relations are to be kept within the bounds of such a
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marriage.” (Id. ¶ 114.) Plaintiffs also shared their religious views on gender identity, explaining they

“would not assist a medical gender transition for a hypothetical future child.” (Id. ¶ 115.) Instead,

Plaintiffs explained “that they would want to have frank, loving conversations with the child before

any life-altering surgeries to fully understand what else might be going on in that child’s life”; but

“[r]egardless of the child’s actions, [Plaintiffs] would continue to love that child.” (Id. ¶ 116.) When

Catherine was “directly asked . . . if she would throw a child out of the home or send a child to

conversion therapy,” she responded that “she would never throw a child out who is LGBTQIA+

and would not use what [Mack] described conversion therapy to be.” (Id. ¶ 117 (quoting Dkt. No. 6-

2 at 11).)

        After Mack’s first meeting with Plaintiffs, she sent an email to Defendant Dawn Sweetman,

an ADLU Supervisor for DCF, asking if Sweetman had any notes from the MAPP training

regarding Plaintiffs. (Dkt. No. 6-1 at 12.) Mack informed Sweetman that she “had some concerns

that [Mack] will need to work through with them,” explaining that Plaintiffs “had the ‘right answers’

but they are not supportive of LGBTQIA+ youth.” (Id.) Mack stated that Michael “seems much

more open and they can think critically about how they’d respond as parents, but their faith is not

supportive and neither are they.” (Id.) In addition, Mack stated:

        The couple does have a lot of strengths though and really seems to understand
        adoption/foster case. They have been doing a ton of reading and ‘get it’ in terms of
        identity, trauma, etc. I don’t want to let me bias play in but I’m curious how this played
        out in MAPP.

(Id. at 12-13.)

        In submitting her comprehensive assessment, Mack ultimately recommended “approval with

conditions, specifically around religion and LGBTQIA++ related issues.” (Id. at 9.) Mack’s

comprehensive assessment highlighted Plaintiffs’ “many strengths,” explaining:

        Due to their own mental health and history of traumatic experiences, [Mack] believes
        that they would be able to truly connect and support a child in a meaningful way. They
        are aware of how to care for themselves and can envision themselves using their own
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        self care to help a child placed in their home. They have also spent significant time
        researching the unique challenges faced by children in foster care and children who
        have experienced adoption. They have clearly put a great deal of thought into their
        plan to adopt through the Department of Children and Families.

(Dkt. No. 6-2 at 15.) However, Mack expressed

        some apprehension about recommending them as [foster parents] due to the couple’s
        views related to people who identify as LGBTQIA++. The couple expressed that they
        are not open to gender affirming care and believe that partnership outside of
        heterosexual relationships is a sin. They are heavily involved in their Catholic Church
        and cite their religious views as their primary reasons for seeing LGBTQIA++
        individuals in this way. Unfortunately, it is hard to predict the future and there is no
        way to guarantee the gender identity of a child over time.

(Id.)

        On March 31, 2023, the License Review Team met to review Plaintiff’s file. The Team

consisted of Anna Monahan, Regional Clinical Director at DCF; Theresa Harris, Regional Program

Manager at DCF; Dawn Sweetman, ADLU Supervisor; Tywanna Jones, DCF Social Worker; Caitlyn

Levine, DCF Mental Health Specialist; Euphemia Molina, DCF License and Training Supervisor;

Stacy Clark, DCF Quality Assurance Supervisor; Luz Estrada, DCF License and Training

Supervisor; and Angel Emerson, DCF License and Training Supervisor. Each of these Defendants,

as members of the Team, “was personally and directly involved in the decision on [Plaintiffs’]

license.” (Dkt. No. 6 ¶ 135; see also id. ¶¶ 24-32.) A narrative of the Team’s meeting states they

acknowledged Plaintiffs’ strengths, “including their willingness to parent a child w[ith] moderately

significant medical, mental health and behavioral needs, their openness to maintaining birth family

connections and resiliency regarding their respective mental health.” (Dkt. No. 6-1 at 3.) However,

the Team’s narrative next states: “Issue(s) of concern for which the couple’s license . . . was denied is

based on the couple’s statements/responses regarding placement of children who identified

LGBTQIA. The [Team] clinical decision was that [Plaintiffs] would not be affirming to a child who

identified LGBTQIA.” (Id.) The Team largely adopted Mack’s comprehensive assessment but

exercised its discretion to insert the following conclusion: “Based on this famil[y’s] beliefs about
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children who identify as LGBTQIA+ and after a careful review of this assessment by the regional

DCF licensing and training review team, the Department is unable to issue a license for them to

foster/adopt at this time.” (Dkt. No. 6-2 at 15.) Plaintiffs received a letter from ADLU Supervisor

Sweetman stating that DCF was “not able to license you and your home as an unrestricted foster or

adoptive family” because “there are specific licensing standards which have not been met.” (Dkt.

No. 6-5.) The letter cited 110 C.M.R. § 7.104(1)(d) and (e), which require that applicants

“demonstrate, to the satisfaction of the Department the ability . . . to promote the physical, mental,

and emotional well-being of a child placed in his or her care, including supporting and respecting a

child’s sexual orientation or gender identity; . . . [and] to respect and make efforts to support the

integrity of a child’s racial, ethnic, linguistic, cultural and religious background.” (Id. (quoting 110

C.M.R. § 7.104(1)(d), (e).)

        Plaintiffs initially filed an appeal within DCF but, after receiving their file and other

information regarding the denial, withdrew their request and proceeded to file this action. In Count

I, Plaintiffs assert a claim for violation of their free exercise rights based on the theory that DCF’s

licensing policy was not “generally applicable,” under Fulton v. City of Philadelphia, 593 U.S. 522

(2021), because the licensing decision entails an individualized assessment. In Count II, Plaintiffs

assert a claim for violation of their free exercise rights based on the theory that DCF’s licensing

policy was not “generally applicable,” under Tandon v. Newsom, 593 U.S. 61 (2021), because it treats

“comparable secular activity more favorably than religious exercise,” id. at 1296. In Count III,

Plaintiffs assert a claim for violation of their free exercise rights based on the theory that DCF’s

licensing assessment expressed hostility to their religion, under Masterpiece Cakeshop, Ltd. v. Colorado

C.R. Comm’n, 5584 U.S. 617 (2018). In Count IV, Plaintiffs assert a claim for violation of their free

exercise rights based on the theory that DCF’s licensing policy is not “neutral,” under Carson v.

Makin, 596 U.S. 767 (2022) and Trinity Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449 (2017),


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because it targets religious beliefs for disfavored treatment. In Count V, Plaintiffs assert a claim for

violation of their free speech rights based on the theory that DCF sought to compel Plaintiffs “to

speak contrary to [their] beliefs on a significant issue of personal conviction, all in order to eliminate

ideas that differ from its own,” under 303 Creative LLC v. Elenis, 600 U.S. 570, 598 (2023).

                                          III.      STANDARD OF REVIEW

         To survive a Rule 12(b)(6)4 motion to dismiss for failure to state a claim, a complaint must

contain “sufficient factual matter . . . to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted). A facially plausible claim contains

pleaded facts that “allow[] the court to draw the reasonable inference that the defendant is liable for

the misconduct alleged.” Id. However, when the well-pleaded facts only “permit the court to infer . .

. the mere possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the

pleader is entitled to relief.’” Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)). In evaluating the sufficiency

of the factual allegations contained in the complaint, the court must be careful to credit the factual

assertions made by the plaintiff while disregarding “legal conclusions,” such as “[t]hreadbare recitals

of the elements of a cause of action, supported by mere conclusory statements.” Id. at 678.

Ultimately, determining whether a complaint states a plausible claim for relief is a context-specific

inquiry, requiring the reviewing court to draw on its judicial experience and common sense. Id. at

679.

                                                 IV.       DISCUSSION

         Defendants raise two arguments in support of their partial motion to dismiss the individual-




4 Although Defendant’s partial motion to dismiss cites both Rule 12(b)(1) and Rule 12(b)(6), it is clear from Defendants’

briefing that there is no subject-matter jurisdiction challenge under Rule 12(b)(1). The court therefore analyzes the
motion to dismiss under Rule 12(b)(6).

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capacity claims. First, they argue the complaint fails to set forth particularized allegations against the

individual-capacity Defendants. Second, they argue that the individual-capacity Defendants are

entitled to qualified immunity. The court rejects both arguments.

    A. Group Pleading

         Defendants first argue that Plaintiffs’ complaint uses improper “group pleading” by asserting

allegations collectively against the nine members5 of the Team, rather than setting forth

individualized allegations of wrongful conduct against these individual-capacity defendants. Thus,

according to Defendants, Plaintiffs’ complaint fails to give these defendants fair notice of the claims

against them and thereby violates Fed. R. Civ. P. 8(a). The court does not agree.

         The First Circuit recently expressed “some doubt about [the defendant’s] argument that the

complaint’s failure to specify between the two defendants should necessarily result in dismissal,” as

“[c]ertain information . . . may often be unavailable to the plaintiff at this early stage of the

litigation.” Rodriguez-Rivera v. Allscripts Healthcare Sols., Inc., 43 F.4th 150, 172 (1st Cir. 2022). In doing

so, the First Circuit favorably cited Zond, Inc. v. Fujitsu Semiconductor Ltd., 990 F. Supp. 2d 50, 53-54

(D. Mass. 2014). In Zond, the court explained that “group pleadings are not, prima facie, excluded by

Rule 8(a)”; rather, “[a]t the motion to dismiss stage a complaint generally will only be dismissed

where it is entirely implausible or impossible for the grouped defendants to have acted as alleged.”

Id. at 53 (internal quotation marks omitted). The Zond court held that “despite making allegations in

the second amended complaint against the Fujitsu corporate group, Zond provides each individual

defendant with fair notice of each claim alleged against it,” noting that “the consistency of the

subject of the pleading in this case, despite its group format, means that it can be reasonably inferred

that each and every allegation is made against each individual defendant.” Id. at 53-54. Courts in this


5 As mentioned, the individual-capacity claims against Defendant Laurie Sullivan will be dismissed without prejudice, in

light of Plaintiffs’ concession that they “do not have knowledge sufficient to allege her personal participation in
[Plaintiffs’] denial.” (Dkt. No. 65 at 6 n.3.)

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district have reached the same conclusion in civil rights cases, given that “there is no heightened

pleading requirement in civil rights actions.” Galego v. City of Fall River, 2023 WL 8039295, at *7-8 (D.

Mass. Nov. 20, 2023); see also Perrot v. Kelly, 2023 WL 2939277, at *15-17 (D. Mass. Feb. 15, 2023);

Echavarria v. Roach, 2017 WL 3928270, at *3-4 (D. Mass. Sept. 7, 2017); Carter v. Newland, 441 F.

Supp. 2d 208, 213-14 (D. Mass. 2006).

        Here, Plaintiffs have adequately alleged that the Team, collectively, denied Plaintiffs’ license

application and that each of the nine remaining individual-capacity defendants were personally and

directly involved in the team’s decision. (See Dkt. No. 6 ¶ 135; see also id. ¶¶ 24-32.) This is not a case

where it is “entirely implausible” or “impossible” for the grouped defendants to have acted in this

manner. Zond, 990 F. Supp. 3d at 53. Nor, contrary to Defendants’ argument, are the allegations of

personal involvement merely “conclusory.” See Rodriguez-Vives v. Puerto Rico Firefighters Corps of Puerto

Rico, 743 F.3d 278, 286 (1st Cir. 2014) (“A conclusory allegation, however, is one which simply

asserts a legal conclusion, such as ‘I was retaliated against,’ not a specific factual allegation, such as

‘my supervisor threw a book at me,’ that merely lacks some surrounding context.”). Moreover, to

the extent that these individual defendants acted disparately during the license application review

process, those differences may be explored during discovery and Defendants “may argue at a later

stage in the litigation that Plaintiffs cannot make the required evidentiary showing” to support

individual liability. Cota v. U.S. Bank Nat’l Ass’n, 2016 WL 922784, at *6 (D. Me. Mar. 10, 2016). At

this stage, however, Plaintiffs’ “group pleading” suffices.

    B. Qualified Immunity

        Defendants next argue that the individual-capacity claims are barred by qualified immunity.

Plaintiffs respond by arguing that Defendants, at this stage, have waived their qualified immunity

arguments as to four of their five counts by failing to set forth, in their opening brief, specific




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arguments as to those four counts and only developing an argument as to Count I, regarding Fulton

v. City of Philadelphia, 593 U.S. 522 (2021). The court agrees.

        In addressing qualified immunity, Defendants’ memorandum of law in support of the

motion to dismiss is clearly focused on Count I of Plaintiffs’ complaint. (See Dkt. No. 62 at 18-22.)

In Count I, Plaintiffs assert that DCF’s licensing policy is not “generally applicable” under Fulton,

because it entails an individualized assessment, governed by its own discretion, akin to the

“individualized exemptions” in Fulton. (Dkt. No. 6 ¶¶ 158-60.) Defendants’ opening brief addresses

this claim and argues the DCF regulations are unlike the anti-discrimination policy at issue in Fulton,

but the brief does not include any argument (much less a developed argument) addressing Plaintiffs’

four other claims in advancing a qualified immunity defense. See Haley v. City of Boston, 657 F.3d 39,

49 (1st Cir. 2011) (explaining that “it is the party suing, not the party sued, who enjoys the right to

frame the claims asserted in a complaint”); Iacobucci v. Boulter, 193 F.3d 14, 22 (1st Cir. 1999)

(explaining that “the scope of the protection afforded by the doctrine of qualified immunity is claim-

specific”); see also Guzman-Rivera v. Rivera-Cruz, 98 F.3d 664, 666 (1st Cir. 1996) (explaining that

qualified immunity is an affirmative defense and may be waived at the motion-to-dismiss stage but

reasserted at later stages). Arguments “adverted to in a cursory fashion, unaccompanied by

developed” explanation are deemed waived. Rodriguez v. Municipality of San Juan, 659 F.3d168, 175-76

(1st Cir. 2011); see Coons v. Indus. Knife Co., 620 F.3d 38, 44 (1st Cir. 2010) (explaining that “the

district court was ‘free to disregard’ the state law argument that was not developed in Coon’s brief”

(quoting Higgins v. New Balance Athletic Shoe, Inc., 194 F.3d 252, 260 (1st Cir. 1999))); Tejada-Batista v.

Morales, 424 F.3d 97, 103 (1st Cir. 2005) (deeming as waived an argument that “describes qualified

immunity doctrine in general terms but makes no effort to apply it to the facts of this case”).

        Here, Defendants’ opening brief’s passing references, in a generalized manner, to Plaintiffs’

“free exercise and free speech rights” and “individual capacity claims,” (Dkt. No. 62 at 19-20),


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without specifically addressing Plaintiff’s legal theories under Counts II through V, is clearly

insufficient. See Rocafort v. IBM Corp., 334 F.3d 115, 121-22 (1st Cir. 2003) (“Passing reference to legal

phrases and case citation without developed argument is not sufficient to defeat waiver. . . . Instead,

a party has a duty to incorporate all relevant arguments in the papers that directly address a pending

motion.” (internal quotation marks and citations omitted)); see also Velez-Ramirez v. Puerto Rico through

Sec’y of Just., 827 F.3d 1554, 158 n.2 (1st Cir. 2016) (deeming as waived “passing reference” to an

argument). Moreover, “[t]hat the [defendants] elaborated on” qualified immunity in their “reply brief

and at oral argument does not salvage” the defense as to Counts II through V, because “‘arguments

developed for the first time in a reply brief are waived.’” Alfred S. v. Kijakazi, 2023 WL 4838318, at

*2 n.1 (D. Me. July 27, 2023) (quoting Small Just. LLC v. Xcentric Ventures LLC, 873 F.3d 313, 323

n.11 (1st Cir. 2017)); see also Napert v. Gov’t Emps. Ins. Co., 2013 WL 3989645, at *2 n.4 (D. Mass.

Aug. 1, 2013). Accordingly, the court finds Defendants have waived the qualified immunity defense

as to Counts II, III, IV, and V, for purposes of their motion to dismiss.

        As to Count I, the court concludes Defendants are not entitled to qualified immunity on the

merits. “Under [the Supreme] Court’s precedents, a plaintiff may carry the burden of proving a free

exercise violation in various ways, including by showing that a government entity has burdened his

sincere religious practice pursuant to a policy that is not ‘neutral’ or ‘generally applicable.’” Kennedy v.

Bremerton Sch. Dist., 597 U.S. 507, 525 (2022). As noted, Count I addresses the “generally applicable”

requirement and asserts the policy here is not “generally applicable” because “it ‘invite[s]’ the

government to consider the particular reasons for a person’s conduct” by providing an

individualized, discretionary assessment, which amounts to “‘a mechanism for individualized

exemptions.’” Fulton, 141 S. Ct. at 1877 (quoting Emp. Div., Dep’t of Hum. Res. of Oregon v. Smith, 494

U.S. 872, 884 (1990)); see Kennedy, 597 U.S. at 525-26 (“Failing either the neutrality or general

applicability test is sufficient to trigger strict scrutiny,” which requires the government to


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demonstrate “its course was justified by a compelling state interest and was narrowly tailored in

pursuant of that interest”).

        The doctrine of qualified immunity provides government officials with immunity “from civil

liability so long as their conduct does not violate clearly established statutory or constitutional rights

of which a reasonable person would have known.” Ablordeppey v. Walsh, 85 F.4th 27, 32 (1st Cir.

2023) (internal quotation marks omitted). In particular, the court must determine “whether the right

at issue was clearly established at the time of the alleged violation,” id. (internal quotation marks

omitted), such that a “reasonable official would understand that what he is doing is unlawful,”

District of Columbia v. Wesby, 583 U.S. 48, 63 (2018). The court must therefore focus “on specific facts

and not on the right in the abstract, . . . but ‘the very action in question [need not] ha[ve] previously

been held unlawful.’” El Dia Inc. v. Governor Rossello, 165 F.3d 106, 109 (1st Cir. 1999) (quoting

Anderson v. Creighton, 483 U.S. 635, 640 (1987)). “Rather, ‘a general constitutional rule already

identified in the decisional law may apply with obvious clarity to the specific conduct in question,

even though the very action in question has [not] previously been held unlawful.’” Id. (quoting United

States v. Lanier, 520 U.S. 259, 271 (1997).

        The court concludes it was clearly established, in 2023, that DCF’s individualized and

discretionary assessment of Plaintiffs’ foster license application was not a “generally applicable”

policy and thus was subject to strict scrutiny. Under the governing regulations, DCF considers 17

different subjective criteria, all of which must be demonstrated “to the satisfaction of the

Department,” when deciding on a foster license application. 110 C.M.R. § 7.104(1). One of these

requirements, upon which Defendants relied in denying Plaintiffs’ application, is “to promote the

physical, mental, and emotional well-being of a child placed in his or her care, including supporting

and respecting a child's sexual orientation or gender identity.” 110 C.M.R. § 7.104(1)(d). In addition,

the regulations provide that after an applicant is licensed, DCF enters into a written agreement with


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the applicant, which can include “a statement of any limitations on the identity or individual

characteristics of children who may be placed in the foster/pre-adoptive home.” 110 C.M.R. §

7.111(4). DCF therefore wields enormous discretion in both assessing a foster license application

and in the ultimate foster placement.

        As the Supreme Court reiterated in Fulton in 2021, laws such as this are not “generally

applicable,” because they permit “the government to grant exemptions based on the circumstances

underlying each application,” similar to the “good cause” standard used by states in earlier Supreme

Court decisions regarding unemployment benefits. Fulton, 593 U.S. at 534 (citing Smith, 494 U.S. at

884); see Smith, 494 U.S. at 884 (explaining that “[t]he Sherbert test . . . was developed in a context that

lent itself to individualized governmental assessment of the reasons for the relevant conduct,” as

“[t]he ‘good cause’ standard created a mechanism for individualized exemptions”); see also Church of

Lukumi Babalu Ave. Inc. v. City of Hialeah, 508 U.S. 520, 537 (1993) (“[B]ecause it requires an

evaluation of the particular justification for the killing, this ordinance represents a system of

‘individualized governmental assessment of the reasons for the relevant conduct’” amounting to

“individualized exemptions from a general requirement” (quoting Smith, 494 U.S. at 884)). Thus, “[a]

law is not generally applicable if it ‘invite[s]’ the government to consider the particular reasons for a

person’s conduct by providing ‘a mechanism for individualized exemptions.’” Fulton, 593 U.S. at 533

(quoting Smith, 494 U.S. at 884); see Fellowship of Christian Athletes v. San Jose Unified Sch. Dist. Bd. of

Educ., 82 F.4th 664, 685 (9th Cir. 2023) (explaining that Fulton held “that the mere existence of

government discretion is enough to render a policy not generally applicable”). The Supreme Court

has explained that “where the State has in place a system of individual exemptions, it may not refuse

to extend that system to cases of religious hardship without compelling reason.” Fulton, at 534

(quoting Smith, 494 U.S. at 884).




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        Here, “[l]ike the good cause provision in Sherbert [v. Verner, 374 U.S. 398 (1963)]” and the

anti-discrimination provision at issue in Fulton, Plaintiffs plausibly allege that the regulations

“incorporate a system of individual exemptions” by providing DCF the discretion (“to the

satisfaction of the Department”) to decide how and when to apply the various subjective criteria.

Fulton, 593 U.S. at 535; see id. at 537 (explaining a policy is not “generally applicable” if “it ‘invite[s]

the government to decide which reasons for not complying with the policy are worthy of

solicitude”).

        One example of the clarity of the law in this regard is Blaise v. Hunter, 493 F. Supp. 3d 984

(E.D. Wash. 2020), which addressed strikingly similar facts in the foster license context in 2020,

before the Supreme Court’s decision in Fulton. See El Dia, 165 F.3d at 110 n.3 (explaining that out-of-

circuit precedent may be considered and, “[a]mong other factors, the location and level of the

precedent, its date, its persuasive force, and its level of factual similarity . . . may all be pertinent to

whether a particular precedent ‘clearly establishes’ law for purposes of a qualified immunity

analysis”); see also Barton v. Clancy, 632 F.3d 9, 22 (1st Cir. 2011). In Blaise, the court explained that

“the Department,” as is true here, “encourages licensors to consider an applicant’s religious beliefs

and stances on LGBTQ+ rights, and a distinctive feature of the foster care licensing process is the

licensor’s subjective assessment of various criteria.” Id. at 999; see Fellowship of Christian Athletes, 82

F.4th at 688 (“While screening for such qualities may further important interests . . . , the very fact

that they require a case-by-case analysis is antithetical to a generally applicable policy.”). In Blaise,

“Department regulations and policies force[d] the [plaintiffs] into a dilemma: adhere to their religion

and give up the benefit of a foster care license or forsake their religion and get a foster care license.”

Id.

        Plaintiffs faced the same fundamental dilemma in this case: they could renounce their

religious beliefs and receive a foster license, or they could adhere to those beliefs and forfeit the


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license. See Sherbert, 374 U.S. at 404 (“It is too late in the day to doubt that the liberties of religion

and expression may be infringed by the denial of or placing of conditions upon a benefit or

privilege,” as “the imposition of such a condition upon even a gratuitous benefit inevitably deter[s]

or discourage[s] the exercise of First Amendment rights of expression,” and “to condition the

availability of benefits upon [the applicant’s] willingness to violate a cardinal principle of her

religious faith effectively penalizes the free exercise of her constitutional liberties.”); see also Trinity

Lutheran Church of Columbia, 582 U.S. at 462. As Plaintiffs argue, “[t]he law was . . . clearly established

that, given the high degree of discretion present in the child welfare system, Defendants could not

use their discretion to exclude those with [Plaintiffs’] religious beliefs—unless they could pass strict

scrutiny.” (Dkt. No. 65 at 14.)

        “A government policy can survive strict scrutiny only if it advances ‘interests of the highest

order’ and is narrowly tailored to achieve those interest.” Fulton, 593 U.S. at 541 (quoting Lukumi,

508 U.S. at 546. Defendants, however, ask that the court not “decide at this early stage whether the

Department’s conduct survives strict scrutiny,” as “Defendants did not move to dismiss on that

basis” and “the resolution of the partial motion to dismiss does not require it.” (Dkt. No. 76 at 6

n.7.) Therefore, the court need not decide, at this stage, whether it was also clearly established that

Defendants’ conduct would not withstand strict scrutiny analysis under these circumstances.

                                            V.      CONCLUSION

        For these reasons, the court ALLOWS Defendants’ partial motion to dismiss as to the

individual-capacity claims against Defendant Sullivan, which are dismissed without prejudice, but

otherwise DENIES the motion.

        It is So Ordered.
                                                            _/s/ Mark G. Mastroianni________
                                                            MARK G. MASTROIANNI
                                                            United States District Judge



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